                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE

LEONARD RAY WALKER,                          )
                                             )
            Plaintiff,                       )
                                             )
v.                                           )       No.:   3:20-CV-410-TAV-DCP
                                             )
SCOTTIE RYAN DAVIS,                          )
                                             )
            Defendant.                       )


                                JUDGMENT ORDER

      For the reasons set forth in the memorandum opinion filed herewith:

      1.    Plaintiff’s initial motion for leave to proceed in forma pauperis [Doc. 4] will
            be DENIED AS MOOT;

      2.    Plaintiff’s amended motion for leave to proceed in forma pauperis [Doc. 6]
            is GRANTED;

      3.    Plaintiff is ASSESSED the civil filing fee of $350.00;

      4.    The custodian of Plaintiff’s inmate trust account is DIRECTED to submit
            the filing fee to the Clerk in the manner set forth in the accompanying
            memorandum opinion;

      5.    The Clerk is DIRECTED to mail a copy of the memorandum opinion and
            this order to the custodian of inmate accounts at the institution where Plaintiff
            is now confined and to furnish a copy of this order to the Court’s financial
            deputy;

      6.    Even liberally construing the complaint in favor of Plaintiff, it fails to state a
            claim upon which relief may be granted under § 1983;

      7.    Accordingly, this action is DISMISSED pursuant to 28 U.S.C.
            §§ 1915(e)(2)(B) and 1915(A);

      8.     Because the Court CERTIFIED in the memorandum opinion that any
            appeal from this order would not be taken in good faith, should Plaintiff file



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            a notice of appeal, he is DENIED leave to appeal in forma pauperis. See 28
            U.S.C. § 1915(a)(3); Fed. R. App. P. 24; and

      9.    The Clerk is DIRECTED to close the file.

      IT IS SO ORDERED.

      ENTER:


                                s/ Thomas A. Varlan
                                UNITED STATES DISTRICT JUDGE


 ENTERED AS A JUDGMENT

     s/ John L. Medearis
     CLERK OF COURT




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